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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA

                                      Alexandria Division



UNITED STATES OF AMERICA,                    )
                                             )
v                                            )                      I:llcrl99-7(JCC)
                                             )
JOSEPH DUODO                                 )
                                             )
              Defendant                      )


                                  MEMORANDUM OPINION


              This matter having come on for a hearing pursuant to the defendant's motion for

reconsideration re bond. For reasons set forth below and for reasons stated in open Court, it is

accordingly denied:

                                              I.


               Defendant Joseph Duodo was indicted on three counts, Count 1 charges him with

conspiracy to import heroin in violation of 21 U.S.C. § 963, Count 4 charges him withdistribution

for the purpose of unlawful importation of heroin in violation of 21 U.S.C.§959(a)& 960, and

count 5 charges him with possession with intent to distribute heroin in violation of 21 U.S.C. §

841.


                                              II.


               Factors set forth according to 18 U.S.C. §3142(g).

               (1) The nature and circumstance of the offense charged, including whether the

offense is a crime of violence or involves a narcotic drug.

               The three counts involve a narcotic drug and since there is a ten year mandatory

minimum so there is a rebuttable presumption against placing the defendant on bond.
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